Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 1 of 23 Page ID #:4
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 2 of 23 Page ID #:5


  1         Plaintiff Carlos Zavala (“Plaintiff”) alleges against defendants Annex
  2   Financial, Inc. (“Annex Financial”), Zee Law Group, A Professional Corporation
  3   (“Zee Law Group”), Tappan Zee (“Zee”) and Does 1 through 10 (collectively with
  4   Annex Financial, Zee Law Group and Zee, “Defendants”) as follows:
  5                                      INTRODUCTION
  6         1.     This is an action to remedy Defendants’ violations of the Fair Debt
  7   Collection Practices Act, 15 U.S.C. §§ 1692, et seq. (the “FDCPA”), and California’s
  8   Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq. (the
  9   “Rosenthal FDCPA”). Plaintiff seeks to recover his actual damages and statutory
 10   damages from Defendants as a result of those violations, as well as his attorney’s
 11   fees and costs incurred in investigating, filing and prosecuting this action.
 12                                JURISDICTION AND VENUE
 13         2.     This Court has jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1367
 14   and 15 U.S.C. § 1692(k). Venue is proper in the Central District in that, among other
 15   things, a substantial part of the events or omissions giving rise to Plaintiff’s claims
 16   occurred in this District.
 17                                          PARTIES
 18         3.     Plaintiff is a natural person residing in Los Angeles County, California.
 19   Plaintiff is a “consumer” within the meaning of 15 U.S.C. § 1692a(3) in that Plaintiff
 20   is a natural person obligated or allegedly obligated to pay a debt. Plaintiff is a
 21   “debtor” within the meaning of Civil Code § 1788.2(h) in that he is a natural person
 22   from whom Defendants have sought to collect a consumer debt due and owing or
 23   alleged to be due and owing from Plaintiff.
 24         4.     Defendant Annex Financial is a California corporation with its principal
 25   place of business in Alhambra, California. Annex Financial is a “debt collector”
 26   within the meaning of California Civil Code § 1788.2(c) in that it is a person (as
 27   defined in Civil Code § 1788.2(g)) who, in the ordinary course of business, regularly,
 28   on behalf of itself or others, engages in debt collection.
                                                  2
                                           COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 3 of 23 Page ID #:6


  1          5.    Defendant Zee Law Group is a law firm and California professional
  2   corporation with its principal place of business in Alhambra, California. Zee Law
  3   Group is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6) in that it uses
  4   instrumentalities of interstate commerce or the mails in its business the principal
  5   purpose of which is the collection of debts, and/or Zee Law Group regularly collects
  6   or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed
  7   or due another. Zee Law Group is a “debt collector” within the meaning of California
  8   Civil Code § 1788.2(c) in that it is a person (as defined in Civil Code § 1788.2(g))
  9   who, in the ordinary course of business, regularly, on behalf of itself or others,
 10   engages in debt collection.
 11          6.    Defendant Zee is an attorney licensed to practice law in the State of
 12   California. Zee is a resident of California. Zee is a “debt collector” within the
 13   meaning of 15 U.S.C. § 1692a(6) in that he uses instrumentalities of interstate
 14   commerce or the mails in his business the principal purpose of which is the
 15   collection of debts, and/or Zee regularly collects or attempts to collect, directly or
 16   indirectly, debts owed or due or asserted to be owed or due another.
 17          7.    Plaintiff does not know the true names, identities, and capacities of
 18   Defendants sued herein as Does 1 through 10, inclusive, and therefore sues those
 19   Defendants by fictitious names. Plaintiff will amend this Complaint to allege the true
 20   names, identities and capacities of Defendants sued herein as Does 1 through 10,
 21   inclusive, when Plaintiff discovers such information.
 22          8.    At all times mentioned herein, each Defendant was the agent or
 23   employee of each of the other Defendants and was acting within the course and
 24   scope of such agency or employment. Defendants are jointly and severally liable to
 25   Plaintiff.
 26                                    OPERATIVE FACTS
 27          9.    Defendant Annex Financial sent Plaintiff a dunning letter by U.S. Mail
 28   dated January 26, 2012, a copy of which is attached hereto as Exhibit A. The January
                                               3
                                         COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 4 of 23 Page ID #:7


  1   26, 2012 letter alleged that a Visa account issued by Washington Mutual Bank and in
  2   Plaintiff’s name was assigned to Defendant Annex Financial, and that Annex
  3   Financial was attempting to collect $13,358.50 in principal and $10,132.13 in interest
  4   owed by Plaintiff under the Visa account. The January 26, 2012 dunning letter
  5   directed Plaintiff to send all communications regarding the account to Zee Law
  6   Group, which Annex Financial stated it retained as its attorneys to collect the alleged
  7   debt.
  8           10.   Defendant Annex Financial’s January 26, 2012 dunning letter to
  9   Plaintiff misrepresented that there was a “judgment” against Plaintiff with respect to
 10   the amounts allegedly owed by Plaintiff under the Visa account, and that Annex
 11   Financial was contacting Plaintiff to resolve the judgment. This statement was false,
 12   deceptive and misleading in violation of 15 U.S.C. § 1692e, including §§ 1692(a)(2)
 13   and 1692e(10), and Civil Code § 1788.17 (incorporating 15 U.S.C. § 1692e into the
 14   Rosenthal Act). There was and is no judgment against Plaintiff with respect to the
 15   purported Visa account.
 16           11.   Plaintiff is informed and believes, and based thereon alleges, that
 17   Defendant Annex Financial’s January 26, 2012 dunning letter misrepresented and
 18   inflated the principal and interest allegedly owed by Plaintiff under the Visa account
 19   and the alleged judgment. By so doing, Defendants use false, deceptive and
 20   misleading representations or means in connection with the collection of a debt, in
 21   violation of 15 U.S.C. § 1692e, including § 1692e(2), and Civil Code § 1788.17.
 22           12.   Defendants Zee Law Group and Zee, as agents and attorneys for
 23   Defendant Annex Financial, sent Plaintiff a dunning letter by U.S. Mail dated
 24   January 26, 2012, a copy of which is attached hereto as Exhibit B. Defendants’
 25   January 26, 2012 dunning letter stated that Annex Financial retained Zee Law Group
 26   to collect $13,358.50 in principal and $10,132.13 in interest allegedly owed by
 27   Plaintiff under the purported Visa account issued by Washington Mutual Bank.
 28   Plaintiff is informed and believes, and based thereon alleges, that Defendants’
                                                 4
                                           COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 5 of 23 Page ID #:8


  1   January 26, 2012 dunning letter misrepresented and inflated the principal and interest
  2   allegedly owed by Plaintiff under the purported Visa account. By so doing,
  3   Defendants use false, deceptive and misleading representations or means in
  4   connection with the collection of a debt, in violation of 15 U.S.C. § 1692e, including
  5   § 1692e(2), and Civil Code § 1788.17.
  6         13.    On February 18, 2012, Plaintiff sent Defendants Zee Law Group and
  7   Zee, as agents and attorneys for Defendant Annex Financial, a letter by certified U.S.
  8   Mail, return receipt requested, in which Plaintiff disputed the debt allegedly owed by
  9   Plaintiff, as set forth in Defendants’ January 26, 2012 letters, and Plaintiff requested
 10   validation of the alleged debt pursuant to 15 U.S.C. § 1692g. A copy of the letter and
 11   proof of Defendants receipt of the letter on February 21, 2012 are attached hereto as
 12   Exhibit C. Pursuant to 15 U.S.C. § 1692g(b), Defendants Zee Law Group and Zee
 13   had a duty to cease collection activities, including the filing of a lawsuit, until they
 14   verified the debt and mailed a copy of the verification to Plaintiff.
 15         14.    Defendants have never provided Plaintiff with verification of the alleged
 16   debt. Defendants instead continued their collection efforts against Plaintiff with
 17   respect to the alleged debt, including by threatening a lawsuit and apparently filing a
 18   collection lawsuit against Plaintiff, all in violation of the fair debt collection laws.
 19         15.    Specifically, Defendants Zee Law Group and Zee, as agents and
 20   attorneys for Defendant Annex Financial, sent Plaintiff a dunning letter by U.S. Mail
 21   dated June 13, 2012, a copy of which is attached hereto as Exhibit D. The June 13,
 22   2012 dunning letter was titled, “DEMAND FOR PAYMENT PRIOR TO
 23   LITIGATION,” and it threatened Plaintiff that Defendant Zee Law Group had
 24   recommended to Annex Financial that a lawsuit be filed against Plaintiff.
 25         16.    Defendants further stated in the June 13, 2012 dunning letter that the
 26   alleged principal amount due from Plaintiff did not include “accrued interest”, and
 27   that the principal amount due was accelerated and immediately due and payable
 28   along with all accrued interest. Plaintiff is informed and believes, and based thereon
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                                           COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 6 of 23 Page ID #:9


  1   alleges, that the alleged principal amount set forth in the June 13, 2012 included
  2   interest charges.
  3         17.     Plaintiff is informed and believes, and based thereon alleges, that on or
  4   about June 26, 2012, Defendant Annex Financial (with Defendants Zee Law Group
  5   and Zee as Annex Financial’s counsel of record) filed a lawsuit against Plaintiff in
  6   the Superior Court of the State of California for the County of Los Angeles (Case
  7   No. 12C02437) to collect on the alleged Visa debt.
  8         18.     Plaintiff is informed and believes, and based thereon alleges, that the
  9   statute of limitations to bring suit on the debt allegedly owed by Plaintiff expired
 10   prior to June 13, 2012, and that Defendants knew or should have known of the
 11   expiration of the statute of limitations at the time they sent the June 13, 2012 dunning
 12   letter and at the time they filed the state court collection lawsuit against Plaintiff.
 13   Defendants’ efforts to collect the alleged debt from Plaintiff thus were false
 14   representations of the legal status of the debt, in violation of § 1692e(2); threats to
 15   take an action which cannot be legally taken, in violation of § 1692e(5); and false
 16   representations to collect or attempt to collect the debt, in violation of § 1692e(10).
 17   Defendants also violated Civil Code § 1788.17, which incorporates all of the
 18   foregoing provisions into the Rosenthal Act.
 19    FIRST CLAIM FOR RELIEF – VIOLATIONS OF THE FEDERAL FAIR DEBT
 20               COLLECTION PRACTICES ACT, 15 U.S.C. §§ 1692, ET SEQ.
 21                   (By Plaintiff Against Defendants Zee Law Group, Zee
 22                              and Does 1 through 10, inclusive)
 23         19.     Plaintiff realleges and incorporates herein by reference each and every
 24   paragraph set forth above.
 25         20.     Congress has found that “[t]here is abundant evidence of the use of
 26   abusive, deceptive, and unfair debt collection practices by many debt collectors,” and
 27   that “[a]busive debt collectors contribute to the number of personal bankruptcies, to
 28   marital instability, to the loss of jobs, and to invasions of individual privacy.” 15
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                                             COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 7 of 23 Page ID #:10


  1   U.S.C. § 1692(a). Congress thus enacted the FDCPA to “eliminate abusive debt
  2   collection practices by debt collectors, to insure that those debt collectors who refrain
  3   from using abusive debt collection practices are not competitively disadvantaged,
  4   and to promote consistent State action to protect consumers against debt collection
  5   abuses.” Id. § 1692(e).
  6         21.       The alleged obligation which Defendants attempted to collect from
  7   plaintiff is a “debt” within the meaning of 15 U.S.C. § 1692a(5) in that is an
  8   obligation or alleged obligation of Plaintiff to pay money arising out of a transaction
  9   in which the money, property, insurance, or services which were the subject of the
 10   transaction were primarily for personal, family, or household purposes.
 11         22.       Defendants violated the provisions of 15 U.S.C. § 1692e by using false,
 12   deceptive and/or misleading representations or means in connection with the
 13   collection of a debt from Plaintiff, including by:
 14                   a.    Misrepresenting the character, amount or legal status of a debt
 15   (§ 1692e(2));
 16                   b.    Threatening to take actions that could not legally be taken or were
 17   not intended to be taken (§ 1692e(5)); and
 18                   c.    Using false representations or deceptive means to collect or
 19   attempt to collect any debt or to obtain information concerning Plaintiff
 20   (§ 1692e(10)).
 21         23.       Defendants violated the provisions of 15 U.S.C. § 1692g(b) by failing to
 22   validate the alleged debt owed by Plaintiff and continuing collection efforts after
 23   receiving a request by Plaintiff for validation and notice that Plaintiff disputed the
 24   alleged debt.
 25         24.       Plaintiff is entitled to recover his actual damages pursuant to 15 U.S.C.
 26   § 1692k(a)(1).
 27         25.       Plaintiff is entitled to recover statutory damages pursuant to 15 U.S.C.
 28   § 1692(k)(a)(2)(A).
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                                             COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 8 of 23 Page ID #:11


  1         26.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs and
  2   expenses incurred in the investigation, filing and prosecution of this action pursuant
  3   to 15 U.S.C. § 1692(k)(a)(3).
  4         WHEREFORE, Plaintiff prays for relief as set forth below.
  5    SECOND CLAIM FOR RELIEF – VIOLATIONS OF THE ROSENTHAL FAIR
  6     DEBT COLLECTION PRACTICES ACT, CAL. CIV. CODE §§ 1788, ET SEQ.
  7            (By Plaintiff Against Defendants Annex Financial, Zee Law Group
  8                               and Does 1 through 10, inclusive)
  9         27.      Plaintiff realleges and incorporates herein by reference each and every
 10   paragraph set forth above.
 11         28.      The California Legislature has found that “unfair or deceptive debt
 12   collection practices undermine the public confidence which is essential to the
 13   continued functioning of the banking and credit system and sound extensions of
 14   credit to consumers.” Cal. Civ. Code § 1788.1(a)(2). The Legislature thus enacted the
 15   Rosenthal FDCPA to ensure the integrity of our banking and credit industry. Id.
 16   § 1788.1(b).
 17         29.      The purported debt Defendants attempted to collect from Plaintiff is a
 18   “consumer debt” within the meaning of Civil Code § 1788.2(f) in that Defendants
 19   attempted to collect money, property or their equivalent due or owing or alleged to
 20   be due or owing from Plaintiff, a natural person, to another person.
 21         30.      Defendants violated the provisions of 15 U.S.C. § 1692e by using false,
 22   deceptive and/or misleading representations or means in connection with the
 23   collection of a debt from Plaintiff, including by:
 24                  a.    Misrepresenting the character, amount or legal status of a debt
 25   (§ 1692e(2));
 26                  b.    Threatening to take actions that could not legally be taken or were
 27   not intended to be taken (§ 1692e(5)); and
 28
                                                8
                                            COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 9 of 23 Page ID #:12


  1                c.    Using false representations or deceptive means to collect or
  2   attempt to collect any debt or to obtain information concerning Plaintiff
  3   (§ 1692e(10)).
  4         31.    Defendants’ violations of 15 U.S.C. § 1692e were also violations of the
  5   Rosenthal FDCPA, pursuant to Civil Code § 1788.17.
  6         32.    Plaintiff is entitled to recover his actual damages pursuant to Civil Code
  7   § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(1), or in the alternative,
  8   Civil Code § 1788.30(a).
  9         33.    Plaintiff is entitled to recover statutory damages pursuant to Civil Code
 10   § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(2)(A), or in the
 11   alternative, Civil Code § 1788.30(b). Defendants’ violations of the Rosenthal
 12   FDCPA were willful and knowing.
 13         34.    Plaintiff is entitled to recover his reasonable attorney’s fees, costs and
 14   expenses incurred in the investigation, filing and prosecution of this action pursuant
 15   to Civil Code § 1788.17, incorporating by reference 15 U.S.C. § 1692k(a)(3), or in
 16   the alternative, Civil Code § 1788.30(c).
 17         WHEREFORE, Plaintiff prays for relief as set forth below.
 18   ///
 19   ///
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                                          COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 10 of 23 Page ID #:13


   1                                   PRAYER FOR RELIEF
   2         WHEREFORE, Plaintiff respectfully prays for relief as follows:
   3         1.     For actual and compensatory damages;
   4         2.     For statutory damages;
   5         3.     For pre-judgment interest to the extent permitted by law;
   6         4.     For an award of Plaintiff’s attorneys’ fees, costs and expenses incurred
   7   in the investigation, filing and prosecution of this action; and
   8         5.     For such other and further relief as the Court may deem just and proper.
   9   Dated: August 14, 2012                  LAW OFFICES OF BRANDON A. BLOCK
                                               A PROFESSIONAL CORPORATION
  10
  11
  12                                           Brandon A. Block
  13                                           Attorneys for Plaintiff
                                               CARLOS ZAVALA
  14
  15                                  JURY TRIAL DEMAND
  16         Plaintiff demands a trial by jury on all issues triable by a jury.
  17   Dated: August 14, 2012                  LAW OFFICES OF BRANDON A. BLOCK
                                               A PROFESSIONAL CORPORATION
  18
  19
  20                                           Brandon A. Block
  21                                           Attorneys for Plaintiff
                                               CARLOS ZAVALA
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                                            COMPLAINT
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 11 of 23 Page ID #:14




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 12 of 23 Page ID #:15




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 13 of 23 Page ID #:16




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 14 of 23 Page ID #:17




                                14
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 15 of 23 Page ID #:18




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 16 of 23 Page ID #:19




                                   16
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 17 of 23 Page ID #:20




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 18 of 23 Page ID #:21




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 19 of 23 Page ID #:22




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 20 of 23 Page ID #:23




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Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 21 of 23 Page ID #:24
Case 2:12-cv-06988-SVW-JCG Document 1 Filed 08/14/12 Page 22 of 23 Page ID #:25
              Case 2:12-cv-06988-SVW-JCG    Document
                         UNITED STATES DISTRICT COURT,1CENTRAL
                                                        Filed 08/14/12
                                                                DISTRICTPage 23 of 23 Page ID #:26
                                                                         OF CALIFORNIA
                                                                                 CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed?                      No      Yes
If yes, list case number(s):
VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case?                   No      Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply)        A. Arise from the same or closely related transactions, happenings, or events; or
                                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                                    C. For other reasons would entail substantial duplication of labor if heard by different judges; or
                                    D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a)   List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
      Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
  County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country


Los Angeles


(b)   List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
      Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).
  County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country


Los Angeles


(c)   List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
      Note: In land condemnation cases, use the location of the tract of land involved.

  County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country


Los Angeles

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER):                                                                                   Date    August 14, 2012
                                                         Brandon A. Block, Attorney for Plaintiff

      Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
      or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
      but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:
               Nature of Suit Code        Abbreviation         Substantive Statement of Cause of Action


               861                        HIA                  All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
                                                               Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
                                                               program. (42 U.S.C. 1935FF(b))

               862                        BL                   All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
                                                               (30 U.S.C. 923)

               863                        DIWC                 All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
                                                               amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

               863                        DIWW                 All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
                                                               Act, as amended. (42 U.S.C. 405(g))

               864                        SSID                 All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
                                                               Act, as amended.

               865                        RSI                  All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
                                                               U.S.C. (g))
CV-71 (05/08)                                                                     CIVIL COVER SHEET                                                                                   Page 2 of 2
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